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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA


EDWARD WALLS and                               :
TONYA CHAVIS-WALLS,                            :
                           Plaintiffs,         :
                                               :             CIVIL ACTION
                    v.                         :             No. 19-3690
                                               :
MEDTRONIC, INC., et al.,                       :
                           Defendants.         :



                                         ORDER

      This 16th day of December, 2019, it is hereby ORDERED that Defendants’ Motion to

Dismiss is GRANTED, and the Complaint dismissed without prejudice.



                                                        /s/ Gerald Austin McHugh
                                                      United States District Judge
